Case 3:22-cv-00006-NKM Document 29-8 Filed 02/22/22 Page 1 of 3 Pageid#: 383




                   Exhibit 17-C
        Case 3:22-cv-00006-NKM Document 29-8 Filed 02/22/22 Page 2 of 3 Pageid#: 384


Naomi Rodriguez

From:                              Kim Gould
Sent:                              Friday, February 18, 2022 5:45 PM
To:                                Naomi Rodriguez
Subject:                           Fw: [EXTERNAL] Isaac C



**EXTERNAL Email**

----- Forwarded Message -----
From: Marlene Santos <marlene.santos@lcps.org>
To: Kim Gould                          ; tracey.yearwood@lcps.org <tracey.yearwood@lcps.org>
Cc: Bridget Beichler <Bridget.Beichler@lcps.org>
Sent: Thursday, February 17, 2022, 07:40:31 AM EST
Subject: Re: [EXTERNAL] Isaac C

Good Morning,
We will respect your request and know we want to partner with you. For today, until we can formulate a
concrete plan, I propose we invite Isaac to sit at the teacher's desk. That will give the teachers today to see
who is and is not wearing a mask and then modify seating charts as appropriate. What are your thoughts?
Sincerely,
Marlene A Santos
Marlene A Santos
Assistant Principal

Trailside Middle School
20325 Claiborne Parkway
Ashburn, VA 20147
571-252-2280

CONFIDENTIALITY / PRIVACY NOTICE – This email and attachments may contain confidential and/or legally
protected information. If you are not the intended recipient, or the person responsible for providing the
information to the intended recipient, you are notified that any disclosure, copying, distribution of this
information, and any other use of or reliance upon it, are strictly prohibited. If you have received this email or
attachments in error, please notify the sender immediately. All correspondence with Loudoun County Public
Schools, including email, may be subject to disclosure in accordance with the Virginia Freedom of Information
Act.

From: Kim Gould
Sent: Wednesday, February 16, 2022 9:21 PM
To: Marlene Santos <Marlene.Santos@lcps.org>; tracey.yearwood@lcps.org <tracey.yearwood@lcps.org>
Subject: [EXTERNAL] Isaac C

Hi - I am reaching out from my non work account, as we recently have filed a federal suit against VA and the parent
choice in masking as a violation of the ADA. So you might not recognize my email address as "Isaac's mom".
As we're watching the parent choice in masking unfold I have consulted with the lead attorney on our case, I am first
requesting that all students in proximity to Isaac be masked, (I do understand this ask and the protocol and rules behind it
coming from the county), if this is not possible I am asking that he be reasonably accommodated and I am open to ideas
to achieve this.
I am including Mrs. Yearwood because of her work with Isaac, I do not consider this a special education request, but a
modification request under the ADA.
I know this is an ever evolving case, and it seems to be changing by the hour. I do truly appreciate you all and all you
do. I have signed on to this case because I feel this goes further than local/state laws.

                                                             1
       Case 3:22-cv-00006-NKM Document 29-8 Filed 02/22/22 Page 3 of 3 Pageid#: 385

Please let me know any input or questions you may have.

Thank you,
Kim Crawley




                                                          2
